Case 6:13-cr-00039-JCB-KNM            Document 111        Filed 05/22/14     Page 1 of 2 PageID #:
                                             305



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION


 UNITED STATES OF AMERICA                          §

 Vs.                                               §           CRIM. ACTION NO. 6:13CR39(1)

 JONATHAN ROSHARD BROWN                            §



               ORDER ADOPTING THE REPORT AND RECOMMENDATION
                   OF THE UNITED STATES MAGISTRATE JUDGE


          The above-styled matter was referred to the Honorable K. Nicole Mitchell, United States

 Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of

 Criminal Procedure. Judge Mitchell conducted a hearing in the form and manner prescribed by

 Federal Rule of Criminal Procedure 11 and issued her Report and Recommendation. Judge

 Mitchell recommended that the Court accept Defendant’s guilty plea and conditionally approve

 the FED. R. CRIM. P. 11(c)(1)(C) plea agreement. She further recommended that the Court finally

 adjudge Defendant as guilty of Counts 1 and 4 of the Indictment filed against Defendant in this

 cause.

          In open court at the plea hearing on May 20, 2014, the parties waived their right to object

 to the magistrate judge’s findings.        The Court is of the opinion that the Report and

 Recommendation should be accepted. It is accordingly

          ORDERED that the Report and Recommendation of the United States Magistrate Judge

 is ADOPTED. It is further




                                                   1
    Case 6:13-cr-00039-JCB-KNM         Document 111      Filed 05/22/14    Page 2 of 2 PageID #:
                                              306



             ORDERED that Defendant’s guilty plea is accepted and approved by the Court. Further,
.
     the plea agreement is approved by the Court, conditioned upon a review of the presentence

     report. It is finally

             ORDERED that, pursuant to Defendant’s plea agreement, the Court finds Defendant

     GUILTY of Count 1 and Count 4 of the Indictment in the above-numbered cause and enters a

     JUDGMENT OF GUILTY against the Defendant as to Count 1 and Count 4 of the Indictment.
             It is SO ORDERED.

     SIGNED this 22nd day of May, 2014.




                                                   ____________________________________
                                                   MICHAEL H. SCHNEIDER
                                                   UNITED STATES DISTRICT JUDGE




                                                  2
